    IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF KANSAS


In Re:                                         )            Case No. 22-21176
         TUFF TURF, INC.                       )            Chapter 11 (voluntary)
              Debtor and Debtor-In-Possession. )            Subchapter V

                      SMALL BUSINESS PLAN OF REORGANIZATION
                    FOR DEBTOR TUFF TURF, INC., DATED MARCH 2, 2023

This Plan of Reorganization is presented to you to inform you of the proposed Plan for restructuring the
debt of Proponent TUFF TURF, INC., and to seek your vote to accept the Plan.

You are encouraged to carefully review the full text of this document, including all exhibits and
attachments, before deciding how to vote on the Plan.

IN ADDITION TO CASTING YOUR VOTE TO ACCEPT OR REJECT THE PLAN, YOU MAY
OBJECT TO THE TERMS OF THE PROPOSED PLAN. IF YOU WISH TO OBJECT TO THE
ADEQUACY OF THE DISCLOSURES OR TO THE TERMS OF THE PROPOSED PLAN, THE
OBJECTION DATES WILL BE PROVIDED IN A SEPARATE NOTICE.

YOUR BALLOT STATING HOW YOU ARE VOTING ON THE PLAN MUST BE RETURNED
BY [DATE TO BE ANNOUNCED BY COURT AT STATUS CONFERENCE TBD]

THE BALLOT MUST BE MAILED TO THE FOLLOWING ADDRESS:
RYAN A. BLAY, 15095 WEST 116TH STREET, OLATHE, KS 66062.

A HEARING ON THE CONFIRMATION OF THE AMENDED PLAN IS SCHEDULED FOR
[DATE TO BE ANNOUNCED BY COURT AT STATUS CONFERENCE TBD].

Your rights may be affected by this Plan of Reorganization. You should consider discussing this
document with an attorney.

         Dated: March 2, 2023                Respectfully submitted,
                                             WM Law

                                             /s/ Ryan A. Blay
                                             Ryan A. Blay, MO #KS001066; KS #28110
                                             15095 W. 116th St.
                                             Olathe, KS 66062
                                             Phone (913) 422-0909 / Fax (913) 428-8549
                                             blay@wagonergroup.com
                                             ATTORNEY FOR DEBTOR(S)




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                                            ARTICLE I
1.1    Definitions

       A.     DEBTOR: TUFF TURF, INC.
       B.     CREDITORS: All creditors of the Debtor holding claims for unsecured debt, liabilities,
              demands, or claim of any character whatsoever, including any under-secured creditors.
       C.     SECURED CREDITORS: All creditors who hold a lien, security interest or other
              encumbrance which has been properly perfected, as required by law with respect to the
              property owned by the Debtor, prior to the filing of this case, or thereafter as authorized
              and ordered by the Court.
       D.     PRIORITY CREDITORS: All creditors who are deemed a priority under Section 507 of
              the Bankruptcy Code.
       E.     PLAN: Debtor’s proposed reorganization plan in its present form or as it may be
              amended or supplemented from time-to-time hereafter.
       F.     COURT: United State Bankruptcy Court for the District of Kansas, including the United
              States Bankruptcy Judge presiding in the Chapter 11 case of the Debtor.
       G.     CLAIM: A duly listed or timely filed claim which is allowed and ordered paid by the
              Court.
       H.     EFFECTIVE DATE: Fourteen (14) days after the date on which the order confirming the
              Plan becomes final and non-appealable.
       I.     ADMINISTRATIVE EXPENSES: Claims against the Debtor arising under 11 U.S.C. §
              507(a)(1) and allowed by the Court.


               HISTORY OF THE BUSINESS OPERATIONS OF THE DEBTOR

1.2    Nature of the Debtor’s Business

       Tuff Turf, Inc. (“Tuff Turf” or the “Debtor”) provides residential and commercial landscaping,
snow removal and grounds maintenance in the metropolitan Kansas City area. It is headquartered in
Merriam, KS and is currently operated by Matt Nelson. Tuff Turf has 12 employees including Mr.
Nelson.

1.3    History of Business Operations of the Debtor

        In 2019, Matt Nelson and his now former business partner, Jason Williamson, purchased Tuff
Turf, Inc, from its former owner and operator. Mr. Nelson and Mr. Williamson made payments to the
former owner (who is now deceased) and assumed some debt of the former owner. They do not owe
anything further to the former owner or his estate.

        In 2021, the operations of Tuff Turf were hurt substantially by COVID-19. Reduced income led
to the failure to pay employee taxes, and Mr. Williamson as the principal manager incurred numerous
loans to keep the business afloat, including high payment merchant cash advances.

        In 2022, Mr. Nelson and Mr. Williamson had a disagreement about the future of Tuff Turf. Mr.
Nelson agreed to pay to buy out Mr. Williamson. Tuff Turf believes Mr. Williamson will be likely
seeking Chapter 7 bankruptcy protection as a result of personal guarantees on much of Tuff Turf’s
obligations. Mr. Nelson wished to continue the business and see it through a turnaround.

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       Due to the pandemic, Tuff Turf was able to obtain some relief through the United States Small
Business Administration (“SBA”) with a Secured Disaster Note, originally incurred in May of 2020 and
modified in June of 2021 to add additional relief.

       Tuff Turf obtained Paycheck Protection Program (“PPP”) loans as well. The PPP loans were
forgiven, but the Secured Disaster Loan requires a long term payback until 2050.

        Merchant cash advance loans are fixed sums in exchange for a percentage of future sales. As part
of these loan arrangements, some but not all lenders received a security agreement and filed the
necessary Uniform Commercial Code (“UCC”) financing statements to perfect liens on assets of Tuff
Turf.

       The Debtor decided to attempt a reorganization with reduced payroll to assist in a turnaround.

1.4    Filing of the Debtor’s Chapter 11 Case

       On December 2, 2022, the Debtor filed a voluntary petition for relief under the Bankruptcy
Code. The Chapter 11 case is pending in the Bankruptcy Court for the District of Kansas.

1.5    Legal Structure and Ownership

       Tuff Turf, Inc. is owned by its sole shareholder, Matt Nelson. No other parties other than Mr.
       Nelson control any portion of the Debtor.

1.6    Debtor’s Assets

        The Debtor’s assets consist of a bank account at US Bank through which all receipts are
processed and payments are made, periodic accounts receivable, furniture and fixtures, some intellectual
property and substantial business equipment which was valued in the Debtor’s original schedules at over
$630,000. The Debtor is seeking to retain all equipment through this Plan of Reorganization. A list of
assets marked as Exhibit A is attached in the form of Schedule A/B from Debtor’s petition.

1.7    Debtor’s Liabilities

       The secured claims of Debtor consist mainly of liens on the Debtor’s assets as well as general
business security agreements with (1) CAN Capital, Inc. (formerly WebBank), The US SBA (2) and (3)
Verimore Bank/First Missouri Bank on all of the Debtor’s assets. Along with that, there are tax debts to
the IRS. The Debtor does not believe any amounts are owed to the Kansas Department of Revenue and
no claim has been filed by KDOR. There are some general unsecured debts schedules as well, many of
which related to equipment leases to be treated through this Plan.

1.8    Current and Historical Financial Conditions

       The Debtor has been able to reduce payroll and other expenses and has been able to continue
operating without the strain of daily payments on cash advances. The Debtor believes it is going to
make more revenue and more of a profit on high end residential landscaping work and a reduction in
maintenance work, and that the business will not only survive but thrive as the economy continues to
open back up.

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        The Debtor believes that if it is allowed to reorganize, it can now pay operating costs along with
secured creditors to maintain its equipment as paying unsecured creditors its projected disposable
income, equaling not less than would have been paid under Chapter 7 of the Bankruptcy Code. See
attached copies of Debtor’s Monthly Operating Report filed since the filing of the bankruptcy case, for
the month of December 2022, Marked as Exhibit B. (January 2023’s is in preparation, and the Debtor
anticipates filing this and February 2023’s operating report before any hearing on confirmation of this
Plan) Additionally, see the Profit and Loss Statement from January 2023, marked as Exhibit C.

1.9    Events Leading to the Filing of the Bankruptcy Case

       The primary driver of the bankruptcy filing was the split in ownership with Mr. Williamson
departing and Mr. Nelson assuming control of day to day operations.

1.10   Significant Events During the Bankruptcy Case

       Since the filing of the bankruptcy the following is a list of significant events:

       •   The Debtor received approval to continue payment for rent, utilities and critical vendors
       •   The Debtor and Ford Motor Credit Company LLC entered into an agreed order resolving
           Ford’s Motion for Adequate Protection (or in the alternative, motion for relief from stay),
           filed as Doc. #36
       •   The Debtor is working on a similar Motion and order with Targeted Lending.

1.11   Projected Recovery of Avoidable Transfers

       The Debtor does not anticipate any litigation to seek recovery of avoidable transfers.




                                              ARTICLE 2


                                               THE PLAN

        The Debtor’s Plan must describe how its Creditors will be paid. Certain Claims are entitled to
specific treatment under the Bankruptcy Code and are not placed in a class for purpose of payment. For
example, Administrative Expenses and Priority Tax Claims are not classified.

        As required by the Code, the Plan places Claims and Equity Interests in various classes and
describes the treatment each class will receive. The Plan also states whether each class of Claims or
Equity Interests is impaired or unimpaired. A Claim or Equity Interest can be impaired if the Plan alters
the legal, equitable or contractual rights to which the Claimants are otherwise entitled. If the Plan is
confirmed, each Creditor’s recovery is limited to the amount provided in the Plan.

        Only Creditors in classes that are impaired may vote on whether to accept or reject the Plan, and
only Creditors holding Allowed Claims may vote. A class accepts the Plan when more than one-half
(1/2) in number and at least two-thirds (2/3) in dollar amount of the Allowed Claims that actually vote,
                                                                                                             5
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vote in favor of the Plan. Also, a class of Equity Interests holders accepts the Plan when at least two-
thirds (2/3) in amount of the allowed Equity Interest holders that actually vote, vote in favor of the Plan.
A class that is not impaired is deemed to accept the Plan.

2.1     Unclassified Claims

        Certain types of Claims are automatically entitled to specific treatment under the Code. For
example, Administrative Expenses and Priority Tax Claims are not classified. They are not considered
impaired, and holders of such Claims do not vote on the Plan. They may, however, object if, in their
view, their treatment under the Plan does not comply with that required by the Code. As such, the Plan
does not place the following Claims in any class.

        A. Administrative Expenses

        The Debtor must pay all Administrative Expenses in full. If an Administrative Expense is
disputed, the Bankruptcy Court must determine the validity and amount of the Administrative Expense,
or in other words, “allow” the Administrative Expense. Any Administrative Expense that is undisputed
and is due and owing on the Confirmation Date must be paid on the Effective Date of the Plan, or upon
such other terms as agreed upon by the Debtor and the Administrative Claimant. If the Administrative
Expense is disputed, payment will be made after the Administrative Expense is allowed by the
Bankruptcy Court.

        There are several types of Administrative Expenses, including the following:

        1.     If the Debtor trades in the ordinary course of business following its filing of the Chapter
               11 Case, Creditors are entitled to be paid in full for the goods or services provided. This
               ordinary trade debt incurred by the Debtor after the Petition Date will be paid on an
               ongoing basis in accordance with the ordinary business practices and terms between the
               Debtor and its trade Creditors.

        2.     If the Debtor received goods it has purchased in the ordinary course of business within
               twenty (20) days before the Petition Date, the value of the goods received is an
               Administrative Expense.

        3.     Administrative Expenses also include any post-petition fees and expenses allowed to
               professionals, including attorneys and accountants employed upon Bankruptcy Court
               authority to render services to the Debtor during the course of the Chapter 11 case. These
               fees and expenses must be noticed to Creditors and approved by the Bankruptcy Court
               prior to payment.

       The following chart lists the Debtor’s estimated Administrative Expenses, and their proposed
treatment under the Plan:

                  Type                  Estimated Amount                  Proposed Treatment
                                              Owed
      Expenses arising in the         None                          Payment through the Plan as
      ordinary course of business                                   follows:
      after the Petition Date
      Administrative Tax Claim        None                          Payment through the Plan

                                                                                                             6
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    The value of goods received      None                         Payment through the Plan as
    in the ordinary course of                                     follows:
    business within 20 days
    before the Petition Date
    Professional fees, as            Counsel estimates post-      After Bankruptcy Court approval,
    approved by the Bankruptcy       filing fees at               Payment through the Plan as
    Court                            approximately $20,000,       follows: Retainer to be paid from
                                     exclusive of any funds       funds held in Attorney’s Trust
                                     held in trust.               Account, then $1666.66 per
                                                                  month for 12 months.

                                                                  Additional fees paid by Debtor,
                                                                  after Bankruptcy Court approval.
    Clerk’s Office fees              None                         Paid in full on the Effective Date.
    Other Administrative             None                         Payment through the Plan as
    Expenses                                                      follows:
    Trustee                          Kent Adams                   Upon application under § 330 and
                                                                  after Bankruptcy Court approval,
                                                                  payment through the Plan as
                                                                  follows: Within 30 days of Order
                                                                  of Approval or as negotiated with
                                                                  the Trustee. Debtor anticipates
                                                                  these expenses to total
                                                                  approximately $2,000.00


       B. Priority Tax Claims

        Priority Tax Claims are unsecured income, employment, and other taxes described by §
507(a)(8) of the Code. Unless the holder of such a § 507(a)(8) Priority Tax Claim agrees otherwise, it
must receive the present value of such Claim, in regular installments paid over a period not exceeding
five (5) years from the order of relief.

       Each holder of a Priority Tax Claim will be paid as set forth in the chart below:

    Name of Taxing     Estimated             Date of                      Treatment
     Authority and      Amount              Assessment
      Type of Tax        Owed
    Internal Revenue $47,067.99           2020-2022        Payment Treatment:
    Service
                                                           Interest rate: 5%

                                                           Paid in full no later than 60 months of
                                                           the petition date (December 2, 2022) by
                                                           56 consecutive payments of $944.11
                                                           monthly beginning April 30, 2022.
                                                           Any nonpriority portion will be treated
                                                           as a general unsecured claim.


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The Debtor believes there may be an adjustment pending from the Internal Revenue Service as a result
of payments made pre-petition on this account and is in communications with the proof of claim filer to
determine if there are additional credits pending. If the Debtor receives any credits for pre-petition
payments made after this Plan has been confirmed, the Debtor may elect to have the liabilities with the
IRS reduced accordingly and apply those credits or seek funds to pay into this Plan and account for
those at the end of the fiscal year funds are received.


2.2    Classes of Claims and Equity Interests

The following are the classes set forth in the Plan, and the proposed treatment that they will receive
under the Plan:

       A. Classes of Secured Claims

        Allowed Secured Claims are Claims secured by property of the Debtor’s bankruptcy estate (or
that are subject to setoff) to the extent allowed as secured Claims.

       All fees required to be paid by 28 U.S.C. § 1930(a)(6)(“United States Trustees Fees”) will accrue
and be timely paid until the case is closed, dismissed, or converted to another chapter of the Bankruptcy
Code. Any United States Trustee Fees owed on the or before the Effective Date of the Plan will be paid
on the Effective Date.

        Under § 506 of the Code, if the value of the collateral or setoffs securing the Creditor’s Claim is
less than the amount of the Creditor’s Allowed Claim, the deficiency will be classified as a general
unsecured Claim.

       The following chart lists all classes containing the Debtor’s secured prepetition Claims and their
proposed treatment under the Plan:

Class #   Description                        Insider? Impairment Treatment
                                             (Yes or
                                             No)
1         Secured claim of:                  No       Impaired   Treatment of Lien:
          CAN Capital, Inc, assignee of
          WebBank – Claim filed as #12                                  Regular monthly payments of
                                                                        $2675 per month. Payments are
          Collateral description:                                       amortized over 10 years with a
          Collateral description:                                       maturity date of 10 years from the
          General business security                                     effective date.
          agreement in the Debtor’s
          assets. UCC filed with the                                    Payments begin:
          Kansas Department of                                          April 30, 2023
          Revenue on October 31, 2018.                                  Payments end:
                                                                        March 31, 2028
          Allowed Secured Amount:
          $252,197.93                                                   Interest rate:
                                                                        5.00%
          Priority of lien:

                                                                                                              8
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    First Position among holders                                Treatment of Lien:
    of Class 1 “blanket” liens on                               Paying secured part of Claim.
    assets of the business; second
    position on all assets pledged                              CAN Capital, Inc. shall retain its
    as collateral to Class 2 PMSI                               lien on the collateral to the
    creditors                                                   extent of the allowed amount of
                                                                such claim pursuant to 11 U.S.C.
    Pre-petition Arrearage:                                     §1129(b)(2)(A)(i).
    $91,350.77

    Total Claim:
    $252,197,93
1   Secured claim of:            No              Impaired       Regular monthly payments of
    United States Small Business                                $1916.81 as follows:
    Administration (“SBA) (Claim
    filed as #4)                                                Payments begin:
                                                                April 30, 2023
    Collateral description:                                     Payments end:
    General business security                                   March 31, 2028
    agreement in the Debtor’s
    assets pursuant to the properly                             Payments are amortized over 10
    perfected UCC financing                                     years with a maturity date of 10
    statement filed with Kansas                                 years from the effective date.
    Secretary of State on May 20,
    2020.                                                       Interest rate:
                                                                5%
    Allowed Secured Amount:
    $180719.00                                                  Treatment of Lien:
                                                                Paying secured part of Claim. The
    Priority of lien:                                           SBA’s secured claim is calculated
    Third Position on assets                                    as the total value of Debtor’s
    secured by Class 2 creditor                                 assets less the secured claim of
    liens, second position on                                   CAN Capital, Inc. less the secured
    remaining assets pursuant to                                claims of the class 2 creditors
    blanket lien (behind CAN                                    holding PMSI liens.
    Capital, Inc.)
                                                                The SBA shall retain its lien on
    Total Claim:                                                the collateral to the extent of the
    $533,565.07                                                 allowed amount of such claim
                                                                pursuant to 11 U.S.C.
                                                                §1129(b)(2)(A)(i).
1   Secured claim of:                  No        Impaired       Treatment of Lien:
    Verimore Bank/First Missouri
    Bank – Claim filed as #8                                    Treatment of Lien:
                                                                Paying $0 for secured part of
    Collateral description:                                     Claim. Claim is being deemed
    Collateral description:                                     wholly unsecured as there is no
    General business security                                   equity to which its lien may attach.
    agreement in the Debtor’s                                   Verimore Bank shall be paid with

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    assets pursuant to the properly                         other Class 6 creditors.
    perfected UCC financing
    statement filed with Kansas                             Verimore Bank/First Missouri
    Secretary of State on April 12,                         Bank shall retain its lien on the
    2021                                                    collateral to the extent of the
                                                            allowed amount of such claim
    Allowed Secured Amount: $0                              pursuant to 11 U.S.C.
                                                            §1129(b)(2)(A)(i) and shall
    Priority of lien:                                       release its lien on all assets of the
    Fourth Position on assets                               Debtor upon discharge of this
    secured by Class 2 creditor                             Plan.
    liens, third position on
    remaining assets pursuant to
    blanket lien (behind CAN
    Capital, Inc and the US SBA)

    Pre-petition Arrearage:
    $90,966.04

    Total Claim:
    $90,966.04
2   Secured claim of:                 No     Impaired       Regular monthly payments of
    Ally Bank (“Ally”) – Claim                              $468.37 as follows:
    filed as #1
                                                            Payments begin:
    Collateral description:                                 April 30, 2023
    2017 Ford F250 Super Duty                               Payments end:
    Crew Cab XL Pickup 4d 8ft,                              March 31, 2028
    VIN 1FT7W2B6XHEC08718
    Allowed Secured Amount:                                 Interest rate:
    $24,819.27                                              5.00%

    Priority of lien:                                       Treatment of Lien:
    First Position                                          Paying secured part of Claim.

    Pre-petition Arrearage:                                 Ally shall retain its lien on the
    $1001.38                                                collateral to the extent of the
                                                            allowed amount of such claim
    Total Claim:                                            pursuant to 11 U.S.C.
    $24,819.27                                              §1129(b)(2)(A)(i).
2   Secured claim of:             No         Impaired       Treatment of Lien:
    Ford Motor Credit Company
    LLC (“Ford”) – Claim Filed as                           Regular monthly payments of
    #3                                                      $923 as follows:

    Collateral description:                                 Payments begin:
    2020 Ford F350, VIN                                     April 30, 2023
    1FD8W3H77LED99012                                       Payments end:
    Allowed Secured Amount:                                 March 31, 2028

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    $48,910.58
                                                           Interest rate:
    Priority of lien:                                      5.00%
    First Position
                                                           Treatment of Lien:
    Pre-petition Arrearage:                                Paying secured part of Claim.
    $4,951.00
                                                           Ford shall retain its lien on the
    Total Claim:                                           collateral to the extent of the
    $48,910.58                                             allowed amount of such claim
                                                           pursuant to 11 U.S.C.
                                                           §1129(b)(2)(A)(i).

                                                           Debtor has been making
                                                           adequate protection payments to
                                                           Ford pursuant to Doc. #36, an
                                                           agreed order resolving Ford’s
                                                           motion for adequate protection.
                                                           These payments shall be applied
                                                           to the amounts owed on the
                                                           secured claim.
2   Secured claim of:             No        Impaired       Treatment of Lien:
    Ford Motor Credit Company
    LLC (“Ford”) – Claim Filed as                          Regular monthly payments of
    #14                                                    $745.03 as follows:

    Collateral description:                                Payments begin:
    VIN 1FD8W3H68LED99013                                  April 30, 2023
    Allowed Secured Amount:                                Payments end:
    $39,479.73                                             March 31, 2028

    Priority of lien:                                      Interest rate:
    First Position                                         5.00%

    Pre-petition Arrearage:                                Treatment of Lien:
    $0                                                     Paying secured part of Claim.

    Total Claim:                                           Ford shall retain its lien on the
    $39,479.73                                             collateral to the extent of the
                                                           allowed amount of such claim
                                                           pursuant to 11 U.S.C.
                                                           §1129(b)(2)(A)(i).
2   Secured claim of:              No       Impaired       Treatment of Lien:
    Wells Fargo Vendor Financial
    Services, LLC (“Wells                                  Regular monthly payments of
    Fargo”) – Claim Filed as #10                           $457.84 as follows:

    Collateral description:                                Payments begin:
    (a) 2014 Bobcat S570 Skid                              April 30, 2023

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          Steer Loader, Serial                                     Payments end:
          #ALM411662, Model #S570                                  March 31, 2028
          (UCC lien filed with Kansas
          Secretary of State on March 9,                           Interest rate:
          2018)                                                    5.00%

          (b) 2020 Bobcat MT85 Mini                                Treatment of Lien:
          Truck Loader, Serial                                     Paying secured part of Claim.
          #B3TR21268, Model #MT85
          (UCC lien filed with Kansas                              Wells Fargo shall retain its lien
          Secretary of State on July 2,                            on the collateral to the extent of
          2020)                                                    the allowed amount of such
                                                                   claim pursuant to 11 U.S.C.
          (c)                                                      §1129(b)(2)(A)(i).
          Allowed Secured Amount:
          $24,261.13                                               Any prepetition adequate
                                                                   protection payments made by
          Priority of lien:                                        the Debtor shall be applied to
          First Position                                           the amount owed on the secured
                                                                   claim.
          Pre-petition Arrearage:
          $3,468.52

          Total Claim:
          $48,910.58
2         Secured Claim of Tokyo           No        Impaired      Treatment of Lien:
          Century (USA) Inc.
                                                                   Regular monthly payments of
          Collateral description:                                  $765.41 as follows:
          2019 Isuzu NPR-HD
          Allowed Secured Amount:                                  Payments begin:
          $40,559.67                                               April 30, 2023
                                                                   Payments end:
          Priority of lien:                                        March 31, 2028
          First Position
                                                                   Interest rate:
          Pre-petition Arrearage:                                  5.00%
          $0
                                                                   Treatment of Lien:
          Total Claim:                                             Paying secured part of Claim.
          $40,559.67
                                                               Tokyo Century (USA) Inc. shall
                                                               retain its lien on the collateral to
                                                               the extent of the allowed amount
                                                               of such claim pursuant to 11
                                                               U.S.C. §1129(b)(2)(A)(i).
Class #   Description                      Insider? Impairment Treatment
                                           (Yes or
                                           No)

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3   Secured claim of:                 No     Impaired       Treatment of Lien:
    Funding Circle aka FC
    Marketplace, LLC – Claim                                Regular monthly payments of
    filed as #5                                             $96.27

    Collateral description:                                 Payments begin:
    Collateral description:                                 April 30, 2023
    General business security                               Payments end:
    agreement in the Debtor’s                               March 31, 2028
    assets pursuant to the properly
    perfected UCC financing                                 Interest rate:
    statement filed with Kansas                             5.00%
    Secretary of State on April 12,
    2018                                                    Treatment of Lien:
                                                            Paying secured part of Claim.
    Allowed Secured Amount:
    $5101.59                                                Funding Circle/FC Marketplace,
                                                            LLC shall retain its lien on the
    Priority of lien:                                       collateral to the extent of the
    First Position                                          allowed amount of such claim
                                                            pursuant to 11 U.S.C.
    Pre-petition Arrearage:                                 §1129(b)(2)(A)(i).
    $n/a

    Total Claim:
    $5101.59
3   Secured claim of:                 No     Impaired       Treatment of Lien:
    Targeted Lending Co, LLC –
    Claim filed as #11                                      Regular monthly payments of
                                                            $1028.36
    Collateral description:
    Collateral description:                                 Payments begin:
    1 2021 Interstate                                       April 30, 2023
    1BDU716TA5 7X16 Interstate                              Payments end:
    Bumper Pull Dump Tandem                                 March 31, 2028
    Axle,
    VIN#4RADU1626MC053372;                                  Interest rate:
    1 Fastway Zip Trailer                                   5.00%
    Breakaway Cable 4 Foot; 1
    Coupler Latch Pin Simple; 1                             Treatment of Lien:
    Tire Radial 235/80R16E on 8                             Paying secured part of Claim.
    Hole 865 White Mod Wheel; 1
    Dump Tarp 7X15 Mesh w/                                  Targeted Lending Co. LLC shall
    Hardware Kit; 1 86 hdv Mild                             retain its lien on the collateral to
    Steel Blade (X3); 1 40 in Walk                          the extent of the allowed amount
    Broom Plow; 3 Poly 2 Yd                                 of such claim pursuant to 11
    2Salt Dogg, pursuant to the                             U.S.C. §1129(b)(2)(A)(i).
    properly perfected UCC
    financing statement filed with                          Despite the name of the Creditor

                                                                                             13
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          Kansas Secretary of State on                                  and what purports to be a lease,
          10/10/2020                                                    this is in fact a security
                                                                        agreement for equipment the
          Allowed Secured Amount:                                       Debtor is purchasing.
          $54,493.42

          Priority of lien:
          First Position

          Pre-petition Arrearage:
          $0

          Total Claim:
          $54,493.42
Class #   Description                        Insider? Impairment Treatment
                                             (Yes or
                                             No)
4         Purported Secured claim of:        No       Impaired   Treatment of Lien:
          Financial Pacific Leasing –
          Claim filed as #16                                            Debtor shall not pay on this claim
                                                                        as the collateral listed was totaled
          Collateral description:                                       in 2020 and the Debtor believes
          2014 Isuzu NPR                                                that Financial Pacific Leasing was
                                                                        paid. If PFL was not paid in full,
          Allowed Secured Amount:                                       the balance would be unsecured
          $N/A                                                          and paid with class 6 general
                                                                        unsecured creditors as described
          Priority of lien:                                             below.
          First Position

          Pre-petition Arrearage:                                       Treatment of Lien:
                                                                        Debtor shall not pay and will
          Total Claim:                                                  dispute as necessary
          $N/A

          Disputed amount: $16,360.77,
          $11,319.87 arrearage claim

       B. Classes of Priority Unsecured Claims

        Certain priority Claims that are referred to in §§ 507(a)(1), (4), (5), (6), and (7) of the Code are
required to be placed in classes. The Code requires that each holder of such a Claim receive cash on the
Effective Date of the Plan equal to the allowed amount of such Claim. However, a class of holders of
such Claims may vote to accept different treatment.

        The following chart lists all classes containing Claims under §§ 507(a)(1), (4), (5), (6), and (a)(7)
of the Code and their proposed treatment under the Plan:



                                                                                                           14
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    Class #    Description                                      Impairment       Treatment
    5          Priority unsecured claims pursuant to Section    [state whether   n/a
               507(a)(1), (4), (5), (6), and & (7)              impaired or
               None                                             unimpaired] –
                                                                n/a, no such
                                                                creditors


       C. Classes of General Unsecured Claims

        General unsecured Claims are not secured by property of the estate and are not entitled to
priority under § 507(a) of the Code. [Insert description of §1122(b) convenience class if applicable.]

       The following chart identifies the Plan’s proposed treatment of Classes 6 through 8, which
contain general unsecured Claims against the Debtor:

Class #    Description                                    Insider?          Impairment
                                                          (Yes or No)
6          General unsecured class                        Impaired          For the unsecured claims,
                                                                            General Unsecured Creditors
           Includes:                                                        shall share in payments from
           CNH Industrial America LLC (Claim #2)                            disposable monthly income
           Marlin (Claim #6); Johnson County                                following years 1-5. The
           Wastewater (Claim #7), Verimore Bank                             Debtor does not anticipate
           (First Missouri Bank) (Claim #8); Verizon                        having funds available to pay
           Wireless (Claim #9) and the unsecured                            general unsecured creditors in
           portion of the claim from the Internal                           Year 1 of the plan due to
           Revenue Service (Claim #13)                                      administrative costs.
                                                                            Based on current claims,
                                                                            debtor anticipates paying
                                                                            unsecured claims in full with
                                                                            pro rata payments during
                                                                            years 2 and 3 of the plan.
                                                                            Years 4 and 5 are available if
                                                                            necessary for surplus claims.



       D. Classes of Equity Interest Holders

       Equity Interest holders are parties who hold an ownership interest (i.e., equity interest) in the
Debtor. In a corporation, entities holding preferred or common stock are Equity Interest holders. In a
partnership, Equity Interest holders include both general and limited partners. In a limited liability
company (“LLC”), the Equity Interest holders are the members. Finally, with respect to an individual
who is a debtor, the Debtor is the Equity Interest holder.

        The following chart sets forth the Plan’s proposed treatment of the classes of Equity Interest
holders: [There may be more than one class of Equity Interest holders in, for example, a partnership
case, or a case where the prepetition Debtor had issued multiple classes of stock.]

                                                                                                           15
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      Class #   Description                                      Insider?        Impairment
                                                                 (Yes or No)
      7         Equity Interest Holders:                         Unimpaired      Retain ownership
                Matt Nelson                                                      interest in the
                                                                                 Corporation


2.3       Estimated Number and Amount of Claims Objections

       A Disputed Claim is a claim that has not been allowed or has been disallowed by a final non-
appealable order, and as to which either:
       (i)    A proof of claim has been filed or deemed filed, and the Debtor of another party in
              interest has filed an objection; or
       (ii)   No proof of claim has been filed, and the Debtor has scheduled such claim as disputed,
              contingent, or liquidated.

       The Debtor will have the power and authority to settle and compromise a Disputed Claim with
Court approval and compliance with Rule 9019 of the Federal Rules of Bankruptcy Procedure.

        The Debtor may object to the amount or validity of any Claim within 60 days of the
Confirmation Date by filing an objection with the Bankruptcy Court and serving a copy of the objection
on the holder of the Claim. The Claim objected to will be treated as a Disputed Claim under the Plan. If
and when a Disputed Claim is finally resolved by the allowance of the Claim in whole or in part, the
Debtor will pay the Allowed Claim in accordance with the Plan. [Set forth amount and number of
Claims in each class that will objected to.]

      Class     Number of Claims Objected To                          Amount of Claims Objected
                                                                      To
                The Debtor does not anticipate filing any claims      n/a
                objections. However, to the extent future filed
                tax returns, amended returns, or filings indicate a
                change in the amount due to any taxing
                authority, the Debtor may initiate a claim
                objection within the time frame specified above.


2.4       Treatment of Executory Contracts and Unexpired Leases

        Executory Contracts are contracts where significant performance of the contract remains for both
the Debtor and another party to the contract. The Debtor has the right to reject, assume (i.e., accept), or
assume and assign these types of contracts to another party, subject to the Bankruptcy Court’s approval.
The paragraphs below explain the Debtor’s intentions regarding its Executory Contracts (which includes
its unexpired leases) and the impact such intentions would have on the other parties to the contracts.

Check all that apply.

[X]       Assumption of Executory Contracts


                                                                                                         16
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       The Executory Contracts listed below shall be assumed by the Debtor unless otherwise noted.
Assumption means that the Debtor has elected to continue to perform the obligations under such
contracts and unexpired leases, and to cure defaults of the type that must be cured under the Bankruptcy
Code, if any.

        If you object to the assumption of your unexpired lease or executory contract, the proposed cure
of any defaults, or the adequacy of assurance of future performance, you must file and serve your
objection to the assumption within the deadline for objecting to the confirmation of the Plan, unless the
Bankruptcy Court as set an earlier date.

       The Debtor formally accepts the lease with Equipbid.com for its commercial premises,
assumes the executory contract with Balboa for phone equipment and rejects all other executory
contracts..

OR

[ ]    Rejection of Executory Contracts and Unexpired Leases

       The Executory Contracts shown on Exhibit ___ shall be rejected by the Debtor.

       Further, the Debtor will be conclusively deemed to have rejected all executory contracts and/or
unexpired leases not expressly shown on Exhibit ____, or not assumed before the date of the order
confirming the Plan.

       Rejection means that the Debtor has elected not to continue to perform the obligations under
such contracts or leases. If the Debtor has elected to reject a contract or lease, the other party to the
contract or lease will be treated as an unsecured Creditor holding a Claim that arose before the
bankruptcy was filed.


2.5    Means for Implementation of the Plan

        Upon Confirmation of the Plan, the Debtor shall make direct payments to all the secured, priority
and general unsecured creditors per the provisions above, unless otherwise noted, from its income and
any contributions from the Debtor’s principal. Debtor believes the market for its services continues to
stabilize following lifting of the restrictions from the COVID-19 pandemic.

        Upon Confirmation of the Plan, all property of the Debtor, tangible and intangible, including,
without limitation, licenses, furniture, fixtures and equipment, will revert, free and clear of all Claims
and Equitable Interests except as provided in the Plan, to the Debtor. The Debtor expects to have
sufficient cash on hand to make the payments required on the Effective Date.

       Pursuant to 11 U.S.C. § 1192(c)(2)(A), all of the projected disposable income of the Debtor to be
received in the 3-year period, or such longer period not to exceed five (5) years as the Court may fix,
beginning on the date that the first payment is due under the Plan will be applied to make payments
under the Plan.




                                                                                                             17
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2.6      Disbursing Agent

         Distributions to Creditors provided for in this Plan will be made by TUFF TURF, INC., directly.

2.7      Post-Confirmation Management

       The Post-Confirmation Officers/Management of the Debtor, and their compensation, shall be as
follows:

      Name            Position   Compensation
      Matt Nelson     Owner      Mr. Nelson will receive a monthly salary, estimated at $5,000 per
                                 month. This is subject to future review as the plan progresses.

2.8      Tax Consequences of the Plan

      Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their
Tax Liability Should Consult with Their Own Accountants, Attorneys, and/or Advisors.

       The following are the anticipated tax consequences of the Plan: The Debtor is treated as a Sub
Chapter S Corporation for tax purposes and all income and losses pass through directly to the members,
who are Matt Nelson. There should be no tax consequences to the Debtor.

2.9      Projections in Support of Debtor’s Ability to Make Payments Under the Proposed Plan

         Debtor has provided projected financial information. Those projections are listed in Exhibit D.




                                              ARTICLE 3


                                          FEASIBILITY OF PLAN

        The Bankruptcy Court must find that confirmation of the Plan is not likely to be followed by the
liquidation, or the need for further financial reorganization, of the Debtor or any successor to the Debtor,
unless such liquidation or reorganization is proposed in the Plan.

3.1      Ability to Initially Fund Plan

       The Plan Proponent believes that the Debtor will have enough cash on hand on the Effective
Date of the Plan to pay all the Claims and expenses that are entitled to be paid on that date.

3.2      Ability to Make Future Plan Payments and Operation Without Further Reorganization

       The Plan Proponent must also show that it will have enough cash over the life of the Plan to
make the required Plan payments.



                                                                                                           18
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      The Plan Proponent has provided projected financial information. Those projections are listed in
Exhibit E.

       The Plan Proponent’s financial projections show that the Debtor will have an aggregate annual
average cash flow, after paying operating expenses and post-confirmation taxes (and proposed Chapter
11 plan payments), of $3600 in year 1, $8,757.60 in year 2, $74,757.60 in year 3, $221,757.60 in year 4,
$265,764 in year 5]. The final Plan payment is expected to be paid in March 2028.


      You Should Consult with Your Accountant or other Financial Advisor If You Have Any
Questions Pertaining to These Projections.




                                                                                                      19
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                                              ARTICLE 4

                                     LIQUIDATION ANALYSIS


To confirm the Plan, the Bankruptcy Court must find that all Creditors and Equity Interest holders who
do not accept the Plan will receive at least as much under the Plan as such Claimants and Equity Interest
holders would receive a in Chapter 7 liquidation. A liquidation analysis is attached hereto as Exhibit F.




                                                                                                       20
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                                               ARTICLE 5

                                              DISCHARGE

       On the Confirmation Date of this Plan, the Debtor will be discharged from any debt that arose
before confirmation of the Plan, subject to the occurrence of the Effective Date, to the extent specified in
§ 1141(d)(1)(A) of the Code. The Debtor will not be discharged from any debt imposed by this Plan.




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                                               ARTICLE 6
                                       GENERAL PROVISIONS

6.1    Title to Assets

       Except as otherwise provided in the Plan or in the order confirming the Plan,

       (i)     confirmation of the Plan vests all of the property of the estate in the Debtor, and
       (ii)    after confirmation of the Plan, the property dealt with by the Plan is free and clear of all
               Claims and Equity Interests of Creditors, equity security holders, and of general partners
               in the Debtor.

6.2    Binding Effect

       If the Plan is confirmed, the provisions of the Plan will bind the Debtor and all Creditors,
whether or not they accept the Plan. The rights and obligations of any entity named or referred to in this
Plan will be binding upon and will inure to the benefit of the successors or assigns of such entity.

6.3    Severability

        If any provision in this Plan is determined to be unenforceable, the determination will in no way
limit or affect the enforceability and operative effect of any other provision of this Plan.

6.4    Retention of Jurisdiction by the Bankruptcy Court

The Bankruptcy Court shall retain jurisdiction of this case with regard to the following matters:

       (i)     To make such orders as are necessary or appropriate to implement the provisions of the
               Plan and to resolve any disputes arising from implementation of the Plan;
       (ii)    To rule on any modification of the Plan proposed under Section 1127;
       (iii)   To hear and allow all applications for compensation to professionals and other
               Administrative Expenses;
       (iv)    To resolve all issues regarding Claims objections, and issues arising from the
               assumption/rejection of executory contracts or unexpired leases; and
       (v)     To adjudicate any cause of action which may exist in favor of the Debtor, including
               preference and fraudulent transfer causes of action.

6.5    Captions

      The headings contained in the Plan are for convenience of reference only and do not affect the
meaning or interpretation of this Plan.



6.6    Confirmation of Plan
       The Debtor is a corporation. The confirmation of the Plan is treated in 11 U.S.C. § 1191 with the
Discharge treated pursuant to 11 U.S.C. § 1192.

6.7    Modification of Plan
                                                                                                          22
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       The Plan Proponent may modify the Plan at any time before confirmation of the Plan. However,
the Court may require re-voting on the Plan.

         The Plan Proponent may also seek to modify the Plan at any time after confirmation only if:
         (i)    The Plan has not been substantially consummated and
         (ii)   The Bankruptcy Court authorizes the proposed modifications after notice and a hearing.

6.8      Creditor Remedies in Event of Default under Plan

          A default under this Plan is defined as a failure to pay two or more consecutive payments under
      this plan or failure to pay any single payment for 90 days or more from a due date. Any Creditor
      whose payment is in default may file a Notice of Default with this Court and provide written notice
      care of Debtor’s counsel via e-mail or United States mail, first class. If such default is not cured
      within 30 days of the Notice of Default, the Creditor may elect to assert a restoration of security
      interests at contract amounts still owed, and the right of the Creditor to seek liquidation of non-
      exempt assets.

6.9      Final Decree

        Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of
Bankruptcy Procedure, the Plan Proponent or such other party as the Bankruptcy Court shall designate
in the Plan Confirmation Order, shall file a motion with the Bankruptcy Court to obtain a final decree to
close the case. Alternatively, the Bankruptcy Court may enter such a final decree on its own motion.

Dated: March 2, 2023                           Respectfully submitted,

                                               /s/ Matt Nelson
                                               Tuff Turf, Inc.
                                               By Owner Matt Nelson

         Dated: March 2, 2023                  Respectfully submitted,
                                               WM Law

                                               /s/ Ryan A. Blay
                                               Ryan A. Blay, MO #KS001066; KS #28110
                                               15095 W. 116th St.
                                               Olathe, KS 66062
                                               Phone (913) 422-0909 / Fax (913) 428-8549
                                               blay@wagonergroup.com
                                               ATTORNEY FOR DEBTOR(S)




                                                                                                         23
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                     EXHIBIT A

                ASSETS: Schedules A/B




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                                           EXHIBIT B

               MONTHLY OPERATING REPORTS FILED WITH THE COURT




See December 2022 MOR attached


January 2023 report is in preparation

February 2023 report is due in March 2023 and will be filed after this Plan has been submitted.




                                                                                                  25
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Debtor's Name Tuff Turf, Inc.                                                 Case No. 22-21176


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Debtor's Name Tuff Turf, Inc.                                                 Case No. 22-21176


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Debtor's Name Tuff Turf, Inc.                                                                    Case No. 22-21176


         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                             Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                     $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                        $0                          $0
c.   Postpetition employer payroll taxes accrued                                                 $9,483                            $0
d.   Postpetition employer payroll taxes paid                                                    $9,483                            $0
e.   Postpetition property taxes paid                                                                  $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                      $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                         $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)      Yes        No
b.   Were any payments made outside the ordinary course of business              Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                         Yes        No
d.   Are you current on postpetition tax return filings?                         Yes        No
e.   Are you current on postpetition estimated tax payments?                     Yes        No
f.   Were all trust fund taxes remitted on a current basis?                      Yes        No
g.   Was there any postpetition borrowing, other than trade credit?              Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by         Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                    Yes        No
                                 If yes, are your premiums current?              Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                        Yes        No
                                 If yes, are your premiums current?              Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                        Yes        No
                                 If yes, are your premiums current?              Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                     Yes        No
k.   Has a disclosure statement been filed with the court?                       Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                         Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                                $0
b.      Gross income (receipts) from self-employment                                                                 $0
c.      Gross income from all other sources                                                                          $0
d.      Total income in the reporting period (a+b+c)                                                                 $0
e.      Payroll deductions                                                                                           $0
f.      Self-employment related expenses                                                                             $0
g.      Living expenses                                                                                              $0
h.      All other expenses                                                                                           $0
i.      Total expenses in the reporting period (e+f+g+h)                                                             $0
j.      Difference between total income and total expenses (d-i)                                                     $0
k.      List the total amount of all postpetition debts that are past due                                            $0
l. Are you required to pay any Domestic Support Obligations as defined by 11             Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                       Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s Matt Nelson                                                                   Matt Nelson
Signature of Responsible Party                                                   Printed Name of Responsible Party

Owner                                                                            02/16/2023
Title                                                                            Date




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                                                  PageTwoPartTwo




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                                                    Bankruptcy1to50




                                                   Bankruptcy51to100




                                                  NonBankruptcy1to50




                                                 NonBankruptcy51to100




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                                                                                                                                    Business Statement
                                                                                                                                           Account Number:
                                                                                                                                                       1779
             P.O. Box 1800
             Saint Paul, Minnesota 55101-0800                                                                                              Statement Period:
             9109        TRN                           S                  Y       ST01                                                          Dec 1, 2022
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              TUFF TURF INC
              5948 MERRIAM DR
                                106481633604776 E
                                                                                                 %                                     To Contact U.S. Bank

              MERRIAM KS 66203-3162                                                              24-Hour Business
                                                                                                 Solutions:                                   800-673-3555


                                                                                                 U.S. Bank accepts Relay Calls
                                                                                                 Internet:                                      usbank.com




INFORMATION YOU SHOULD KNOW
    Price changes for U.S. Bank Business Checking, Savings and Treasury Management Services are effective Jan. 1, 2023. You
    can view revised pricing (only those prices that changed) at https://cashmgmt.usbank.com/repricing beginning Dec. 1, 2022.
    Please enter the Access Code listed below to view price changes that may apply. If you experience difficulty accessing this
    information, please call Customer Service at the number listed in the upper-right corner of this statement or send an email to
    commercialsupport@usbank.com.
    Access Code: 32-E505-FF83-96FA

    Effective January 3, 2023, we would like to inform you of the upcoming changes to the Business Pricing Information and Your
    Deposit Account Agreement documents that may impact your account. To obtain a current copy of the Business Pricing
    Information disclosure, visit your local branch.
    Primary updates in your revised Your Deposit Account Agreement for all business accounts
        ·    Updates to Insufficient Funds and Overdrafts section, "Insufficient funds" sub section: Removed Overdraft Returned
             Fee language for business accounts.
        ·    Updates to Insufficient Funds and Overdrafts section, Our Fees sub section: Removed Overdraft Returned Fee and
             Extended Overdraft Fee language for business accounts.
        ·    Updates to Overdraft Handling section, Business Options for Checking and Money Market Accounts sub section:
             Removed Overdraft Returned Fee language for business accounts.
        ·    Updates to Overdraft Handling section, Requested Return sub section: Removed Overdraft Returned Fee language
             for business accounts.
    Primary updates in your revised Business Pricing Information disclosure
        ·    Consolidation of the Business Pricing Information disclosure to include all states
        ·    Added footnote to Overdraft Protection Fee to include one deposit account and one credit account may be linked to a
             business checking account as overdraft protection. When a customer has both a credit account and deposit account
             linked to their business checking, the system will always advance first from the credit product.
    The pricing updates are:
    All checking and savings account types
         · Extended Overdraft Fee - No Fee
         · Overdraft Returned Item - No Fee
         · Express Delivery of Card - No Fee
         · Returned Deposited Items, Returned Check (per item) - $16.00
         · Returned Deposited Items, Redeposited Check (per item) - $9.00
         · Returned Deposited Item Special Instructions Maintenance Per Month
             o        First Account - $12.00
             o        Each Additional Account - $7.00
         · ACH Transfers, Outgoing Digital ACH Domestic - $1.00
         · Money Service Business Fee Per Statement Cycle - $150.00
         · Voice Wires, Repetitive & Non-Repetitive - $37.50
         · SinglePoint® Essentials Online Banking
             o        ACH Monthly Maintenance per Customer - $12.00

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                                                                         BALANCE YOUR ACCOUNT
                                                                         To keep track of all your transactions, you should balance your account every month. Please
                                                                         examine this statement immediately. We will assume that the balance and transactions shown are
                                                                         correct unless you notify us of an error.

Outstanding Deposits
DATE                          AMOUNT                                     1. List any deposits that do not appear on your statement in the Outstanding Deposits section at
                                                                            the left. Record the total.
                                                                         2. Check off in your checkbook register all checks, withdrawals (including Debit Card and ATM)
                                                                            and automatic payments that appear on your statement. Withdrawals that are NOT checked off
TOTAL                         $                                             should be recorded in the Outstanding Withdrawals section at the left. Record the total.
                                                                         3. Enter the ending balance shown on this statement.                                              $_____________
Outstanding Withdrawals
DATE                          AMOUNT                                     4. Enter the total deposits recorded in the Outstanding Deposits section.                         $_____________
                                                                         5. Total lines 3 and 4.                                                                           $_____________
                                                                         6. Enter the total withdrawals recorded in the Outstanding Withdrawals section.                   $_____________
                                                                         7. Subtract line 6 from line 5. This is your balance.                                             $_____________
                                                                         8. Enter in your register and subtract from your register balance any checks, withdrawals or other
                                                                            debits (including fees, if any) that appear on your statement but have not been recorded in your
                                                                            register.
                                                                         9. Enter in your register and add to your register balance any deposits or other credits (including
                                                                            interest, if any) that appear in your statement but have not been recorded in your register.
                                                                         10. The balance in your register should be the same as the balance shown in #7. If it does not
                                                                             match, review and check all figures used, and check the addition and subtraction in your register.
                                                                             If necessary, review and balance your statement from the previous month.
TOTAL                         $

IMPORTANT DISCLOSURES TO OUR CONSUMER CUSTOMERS
In Case of Errors or Questions About Your Checking, Savings, ATM, Debit Card, ACH, Bill Pay and Other Electronic Transfers
If you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt, we must hear from you no later than 60 days* after we sent you
the FIRST statement on which the error or problem appeared. Telephone us at he number listed on the front of this statement or write to us at U.S. Bank, EP-MN-WS5D, 60 Livingston
Ave., St. Paul, MN 55107.
· Tell us your name and account number.
· Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need more information.
· Tell us the dollar amount of the suspected error.
We will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly. If we need more time, we may take up to 45 days to
investigate your complaint. For errors involving new accounts, point-of-sale, or foreign-initiated transactions, we may take up to 90 days to investigate your complaint. If we decide to do this,
we will credit your account within 10 business days for the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation. If
we ask you to put your complaint or question in writing and we do not receive it wi hin 10 business days, we may not credit your account.
    *Please note: Paper draft and paper check claims must be disputed within 30 days per Your Deposit Account Agreement.
IMPORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS
Errors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and regulations governing such transactions, including the
rules of the National Automated Clearing House Association (NACHA Rules) as may be amended from time to time. If you think this statement is wrong, please telephone us at the number
listed on the front of this statement immediately.
CONSUMER BILLING RIGHTS SUMMARY REGARDING YOUR RESERVE LINE
What To Do If You Think You Find A Mistake on Your Statement
If you think there is an error on your statement, write to us at:
U.S. Bank, P.O. Box 3528, Oshkosh, WI 54903-3528.
In your letter, give us the following information:
· Account information: Your name and account number.
· Dollar Amount: The dollar amount of the suspected error.
· Description of problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
You must contact us within 60 days after the error appeared on your statement.
You must notify us of any potential errors in writing. You may call us, but if you do we are not required to inves igate any potential errors and you may have to pay the amount in question.
While we investigate whether or not there has been an error, he following are true:
· We cannot try to collect the amount in question, or report you as delinquent on that amount.
· The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will not have to
   pay the amount in question or any interest or other fees related to that amount.
· While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
· We can apply any unpaid amount against your credit limit.
Reserve Line Balance Computation Method: To determine your Balance Subject to Interest Rate, use the dates and balances provided in the Reserve Line Balance Summary section.
The date next to the first Balance Subject to Interest is day one for that balance and is applicable up to (but not including) the date of the next balance (if there is one). We multiply the
Balance Subject to Interest by the number of days it is applicable and add them up to get the same number of days in the billing cycle. We then divide the result by the number of billing
days in the cycle. This is your Balance Subject to Interest Rate. Any unpaid interest charges and unpaid fees are not included in the Balance Subject to Interest. The ***INTEREST
CHARGE*** begins from the date of each advance.
REPORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES
We may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.
CONSUMER REPORT DISPUTES
We may report information about account activity on consumer and small business deposit accounts and consumer reserve lines to Consumer Reporting Agencies (CRA). As a result, this
may prevent you from obtaining services at other financial institutions. If you believe we have inaccurately reported information to a CRA, you may submit a dispute by calling 844.624.8230
or by writing to: U.S. Bank Attn: Consumer Bureau Dispute Handling (CBDH), P.O. Box 3447, Oshkosh, WI 54903-3447. In order for us to assist you with your dispute, you must provide:
your name, address and phone number; he account number; the specific information you are disputing; the explanation of why it is incorrect; and any supporting documentation (e.g.,
affidavit of identity theft), if applicable.




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                                             EXHIBIT C

                               JANUARY 2023 PROFIT AND LOSS


Tax Returns for the years 2019-2021 are available upon request. 2022 tax returns have not yet been
prepared.




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                                EXHIBIT D

LEASES – Schedule G – Assumption of Executory Contracts and Unexpired Leases




                                                                               27
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Fill in this information to identify the case:

Debtor name        Tuff Turf Inc.

United States Bankruptcy Court for the:      DISTRICT OF KANSAS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.        State what the contract or            phone equipment
            lease is for and the nature of
            the debtor's interest

                State the term remaining          2 years
                                                                                     Balboa
             List the contract number of any                                         17218 Preston Rd #2600
                   government contract                                               Dallas, TX 75252


2.2.        State what the contract or            2006 Ford F450 SD Flat
            lease is for and the nature of        bed with lock boxes
            the debtor's interest
                                                  1 9 ft 6 Mild Steel HDV
                                                  SXE77780, (2) Poly 2 yd
                                                  Salt Dogg
                                                  SXESHPE2000,
                                                  F250SD-550SD 05-07
                                                  SXE33259, plug-in
                                                  harness Kit
                                                  SXEB29049, Blade
                                                  Wing Kit HD SNX84575,
                                                  Cable assy vehicle
                                                  SNX42014, Cntrl Hrns
                                                  Vehicles SNX28587
                State the term remaining          8 months
                                                                                     BSB Leasing
             List the contract number of any                                         PO Box 3892
                   government contract                                               Seattle, WA 98124




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                     Page 1 of 3


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                                                                          67of
                                                                             of51
                                                                                72
Debtor 1 Tuff Turf Inc.                                                          Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.3.      State what the contract or        1 2021 Interstate
          lease is for and the nature of    IBDU716TA5 7 X 16
          the debtor's interest             Interstate Bumper Pull
                                            Dump Tandem Axle
                                            4RADU1626MC053372
                                            1 Fastway Zip Trailer
                                            Breakaway Cable 4
                                            Foot
                                            1 Coupler Latch Pin
                                            Simple
                                            1 Tire Radial
                                            235/80R16E on 8 Hole
                                            865 White Mod Wheel
                                            1 Dump Tarp 7 x 15
                                            Mesh w/ Hardware Kit
                                            1 86hdv Mild Steel Blad
                                            1 86hdv Mild Steel Blad
                                            1 86hdv Mild Steel Blad
                                            1 40in Walk Broom
                                            Plow
                                            3 Poly 2 Yd Salt Dogg
             State the term remaining       2 years, 11 months
                                                                        BSB Leasing, Inc.
          List the contract number of any                               7921 Southpark Plaza, Ste. 208
                government contract                                     Littleton, CO 80120


2.4.      State what the contract or        lease for premises
          lease is for and the nature of
          the debtor's interest

             State the term remaining       month to month
                                                                        Equipbid.com
          List the contract number of any                               8675 College Blvd Ste- 270
                government contract                                     Overland Park, KS 66210


2.5.      State what the contract or        7X16 dump trailer,
          lease is for and the nature of    some snow plows
          the debtor's interest             (Smart Shield)

             State the term remaining       3 years
                                                                        Marlin
          List the contract number of any                               PO Box 637
                government contract                                     Mount Laurel, NJ 08054


2.6.      State what the contract or        Scag mowers, spray
          lease is for and the nature of    tank, blowers, weed
          the debtor's interest             eaters

             State the term remaining       3 years
                                                                        Targeted Lending
          List the contract number of any                               5500 Main St.
                government contract                                     Williamsville, NY 14221


Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 3


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                             Case 22-21176 Doc#
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                                                                      68of
                                                                         of51
                                                                            72
Debtor 1 Tuff Turf Inc.                                                       Case number (if known)
          First Name      Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                       State the name and mailing address for all other parties with
                                                                 whom the debtor has an executory contract or unexpired
                                                                 lease




Official Form 206G                 Schedule G: Executory Contracts and Unexpired Leases                                Page 3 of 3


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                                                                      of51
                                                                         72
EXHIBIT E - PROJECTIONS OF CASH FLOW/EARNINGS
POST CONFIRMATION PERIOD
                        Year 1              Year 2               Year 3              Year 4             Year 5
                        4/23 - 3/24         4/24 - 3/25          4/25 - 3/26         4/26 - 3/27        4/27 - 3/28

Gross Receipts:         $1.2 million        $1.35 million        $1.5 million        $1.65 million      $1.8 million
                        ($100,000/month)    ($112,500 per        ($125,000 per       ($137,500 per      ($150,000 per
                                            month)               month)              month)             month)
Expenses:
Payroll                 $400,000            $420,000             $450,000            $480,000           $520,000
                        ($33,333 per        ($35,000 per         ($37,500 per        ($40,000 per       ($43,333 per
                        month)              month)               month)              month)             month)

Insurance               $90,000             $96,000 ($8,000      $102,000            $108,000           $114,000 ($9,500
                        ($7,500/month)      per month)           ($8,500 per         ($9,000 per        per month)
                                                                 month)              month)

Taxes                   $108,000            $120,000             $132,000            $144,000           $156,000
                        ($9,000/month)      ($10,000 per         ($11,000 per        ($12,000 per       ($13,000 per
                                            month)               month)              month)             month)

Maintenance/Fuel        $300,000            $336,000             $360,000            $384,000           $420,000
                        ($25,000 per        ($28,000 per         ($30,000 per        ($32,000 per       ($35,000 per
                        month)              month)               month)              month)             month)
Rent and equipment      $60,000             $60,000              $60,000             $60,000            $60,000
for office              ($5,000/month)      ($5,000/month)       ($5,000/month)      ($5,000/month)     ($5,000/month)

Advertising/Marketin    $6,000              $9,000               $12,000             $15,000            $18,000
g                       ($500/month)        ($750/month)         ($1000/month)       ($1250/month)      ($1500/month)


Employee Benefits       $18,000             $21,000              $24,000             $27,000            $30,000
                        ($1500/month)       ($1750/month)        ($2000/month)       ($2250/month)      ($2500/month)

Costs of Goods Sold     $72,000             $78,000              $84,000             $90,000            $96,000
(i.e. salt, other       ($6,000/month)      ($6,500/month)       ($7,000/month)      ($7,500/month)     ($8,000/month)
product purchases)
Plan Payments
Administrative          $1833.33 month      $0                   $0                  $0                 $0
                        (including
                        Subchapter V
                        Trustee fees paid
                        in lump sump)
                        ($22,000/year)
IRS                     $944.11/month       $944.11/month        $944.11/month       $944.11/month      $944.11/month
                        ($11,329.32/yr)     ($11,329.32/yr)      ($11,329.32/yr)     ($11,329.32/yr)    ($11,329.32/yr)

CAN Capital             $2675/month         $2675/month          $2675/month         $2675/month        $2675/month
                        ($32,100/year)      ($32,100/year)       ($32,100/year)      ($32,100/year)     ($32,100/year)

S.B.A.                  $1916.81/month      $1916.81/month       $1916.81/month      $1916.81/month     $1916.81/month
                        ($23,001.72/year)   ($23,001.72/year     ($23,001.72/year    ($23,001.72/year   ($23,001.72/year)
                                            )                    )                   )

                        Year 1              Year 2               Year 3              Year 4             Year 5


                                                                                                                         28
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                        4/23 - 3/24        4/24 - 3/25          4/25 - 3/26          4/26 - 3/27        4/27 - 3/28
Ford (Claim #3)         $923/month         $923/month           $923/month           $923/month         $923/month
                        ($11,076/year)     ($11,076/year)       ($11,076/year)       ($11,076/year)     ($11,076/year)
Ford (Claim #14)        $745.03/month      $745.03/month        $745.03/month        $745.03/month      $745.03/month
                        ($8,940.36/year)   ($8,940.36/year)     ($8,940.36/year)     ($8,940.36/year)   ($8,940.36/year)
Wells Fargo             $457.84/month      $457.84/month        $457.84/month        $457.84/month      $457.84/month
                        ($5,494.08/year)   ($5,494.08/year)     ($5,494.08/year)     ($5,494.08/year)   ($5,494.08/year)
Tokyo Century           $765.41/month      $765.41/month        $765.41/month        $765.41/month      $765.41/month
                        ($9,184.92/year)   ($9,184.92/year)     ($9,184.92/year)     ($9,184.92/year)   ($9,184.92/year)
FC/Funding Circle       $96.27/month       $96.27/month         $96.27/month         $96.27/month       $96.27/month
                        ($1155.24/year)    ($1155.24/year)      ($1155.24/year)      ($1155.24/year)    ($1155.24/year)
Targeted Lending Co.    $1028.36/month     $1028.36/month       $1028.36/month       $1028.36/month     $1028.36/month
                        ($12,340.32/yr)    ($12,340.32/yr)      ($12,340.32/yr)      ($12,340.32/yr)    ($12,340.32/yr)
General Unsecured       $0                 $6,750 per           $6,750 per           $0 unless          $0 unless
Non-Priority Claims                        month                month ($81,000       unexpected         unexpected
                                           ($81,000/year)       year)                claims accrue      claims accrue

Total Plan Payments     $11,853.53/mo.     $16,770.20/mo.       $16,770.20/mo.       $10,020.20/mo.     $10,020.20/mo.
                        ($142,242.36/yr)   ($201242.40/ yr)     ($201242.40/ yr)     ($120,242.40/      ($120,242.40/ yr)
                        Year 1             Year 2               Year 3               yr)                Year 5
                                                                                     Year 4




                                                                                                                         29
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                                                       EXHIBIT F
                                                 LIQUIDATION ANALYSIS



Assets:
  Funds in client trust account with
counsel:                                                    $4,749.50
  Accounts Receivable                                        $32,000
  Furniture and Fixtures, All Used                            $3,500
  Vehicles, Mowers, and Other Equipment                $630,390.90
                                   Total Value         $670,640.40

Less

Secured claims ($1,114,452.53)

Less
  Hypothetical Chapter 7 Trustee Fees
        25% of $5,000 = $1,250
        10% of $45,000 = $4,500
               $4500
         5% of $620,640.40 = $31,032.02
                                                        $36,782.02

       Total Value minus Chapter 7 Fees and
                            secured claims            $-$480,594.15


Less
  Payments to priority creditors                             $47,608
                          Grand Total Value          (-$528,202.15)


There would be no distributions to general unsecured creditors under
a theoretical Chapter 7 liquidation.
Therefore, the Plan as proposed satisfies the requirements of
11 U.S.C. § 1129(a)(7)(ii).




                                                                                               30
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